   Case 18-22150-jrs            Doc 17    Filed 11/28/18 Entered 11/29/18 01:23:55                 Desc Imaged
                                         Certificate of Notice Page 1 of 2
                                   UNITED STATES BANKRUPTCY COURT
                                        Northern District of Georgia

In     Roberto Ortiz−Cameron ("Employee")                  Case No.: 18−22150−jrs
Re:    xxx−xx−5586                                         Chapter: 13
          Debtor
To: Idexx Operations, Inc. ("Employer")
    One Idexx Drive
    Westbrook, ME 04092

       ORDER TO EMPLOYER TO DEDUCT AND REMIT A PORTION OF DEBTOR'S EARNINGS
                      FOR THE VOLUNTARY PAYMENT OF DEBTS


This is an ORDER of the United States Bankruptcy Court, NOT a garnishment.

The above−named Debtor/Employee has voluntarily filed a petition and plan under Chapter 13 of the United States
Bankruptcy Code seeking to pay, in whole or in part, certain debts under the protection of this Court. These debts are
to be paid by the Chapter 13 Trustee ("Trustee") from the Debtor/Employee's future earnings. Public policy requires
the above−stated Employer to assist in the rehabilitation of the Debtor/Employee to avoid a Chapter 7 liquidation.
The future earnings designated to pay these debts are not used for other purposes; accordingly, it is hereby
   ORDERED that:

1. The above−named Employer shall implement deductions from Debtor/Employee's earned wages as follows:
Employer shall immediately begin withholding from the wages, salary, commission, and all other earnings or income
of Debtor/Employee $ 116.00 bi−weekly and remit same promptly to Trustee no less frequently than once each
month, and shall continue deductions until ordered otherwise by this Court.

2. Employer is enjoined and restrained from discharging, terminating, suspending or discriminating against
Debtor/Employee on account of this earnings deduction order or the filing of a Chapter 13 by Debtor, for to permit
otherwise would render this order a nullity; and in the event of discharge, termination or suspension of
Debtor/Employee for any reason whatsoever, Employer is further ORDERED to notify Trustee of the discharge,
termination, suspension and the specific reason(s) therefor.
3. The Bankruptcy Code is a Federal law that preempts and suspends state garnishment and other collection actions
against Debtor/Employee. The automatic stay of 11 U.S.C. 362, together with other statutes enforcing Chapter 13
enjoin and stay the continuation of any garnishment proceeding and any other acts to proceed further with that
garnishment proceeding. Therefore, if a summons of garnishment concerning Debtor/Employee has been served on
Employer, Employer is enjoined and stayed from making any further deductions from the Debtor/Employee's
earnings on account of said garnishment, and Employer is ORDERED to remit immediately to Trustee any sums
already deducted and not yet paid over to the garnishment court.

4. This order supersedes any previous order issued with respect to the debtor's wages.

MAIL ALL REMITTANCES WITH CASE NAME AND NUMBER TO:
Nancy J. Whaley
Nancy J. Whaley, Standing Ch. 13 Trustee
303 Peachtree Center Avenue
Suite 120, Suntrust Garden Plaza
Atlanta, GA 30303

                                                           James R. Sacca
                                                           United States Bankruptcy Judge
Entered on Docket: November 26, 2018


Form F64 (Revised 06/15/2004)
        Case 18-22150-jrs            Doc 17      Filed 11/28/18 Entered 11/29/18 01:23:55                          Desc Imaged
                                                Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                               Northern District of Georgia
In re:                                                                                                     Case No. 18-22150-jrs
Roberto Ortiz-Cameron                                                                                      Chapter 13
Nicole Ortiz-Cameron
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 113E-8                  User: admin                        Page 1 of 1                          Date Rcvd: Nov 26, 2018
                                      Form ID: 64F                       Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 28, 2018.
db/jtdb        +Roberto Ortiz-Cameron,   Nicole Ortiz-Cameron,   900 Venue Way,   Unit 9302,
                 Alpharetta, GA 30005-4566
emp            +Idexx Operations, Inc.,    One Idexx Drive,  Westbrook, ME 04092-2041

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 28, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 26, 2018 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0
